Case 08-14631-GMB   Doc 317-5 Filed 05/21/08 Entered 05/21/08 13:15:20   Desc
                           Exhibit D Page 1 of 7
Case 08-14631-GMB   Doc 317-5 Filed 05/21/08 Entered 05/21/08 13:15:20   Desc
                           Exhibit D Page 2 of 7
Case 08-14631-GMB   Doc 317-5 Filed 05/21/08 Entered 05/21/08 13:15:20   Desc
                           Exhibit D Page 3 of 7
Case 08-14631-GMB   Doc 317-5 Filed 05/21/08 Entered 05/21/08 13:15:20   Desc
                           Exhibit D Page 4 of 7
Case 08-14631-GMB   Doc 317-5 Filed 05/21/08 Entered 05/21/08 13:15:20   Desc
                           Exhibit D Page 5 of 7
Case 08-14631-GMB   Doc 317-5 Filed 05/21/08 Entered 05/21/08 13:15:20   Desc
                           Exhibit D Page 6 of 7
Case 08-14631-GMB   Doc 317-5 Filed 05/21/08 Entered 05/21/08 13:15:20   Desc
                           Exhibit D Page 7 of 7
